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                                                                                                                        TMM / ALL
                                                                                                     Transmittal Number: 23059190
Notice of Service of Process                                                                            Date Processed: 04/15/2021

Primary Contact:           Andrew Bell
                           CMA CGM (America) LLC
                           5701 Lake Wright Dr
                           Norfolk, VA 23502-1868

Electronic copy provided to:                   Kristi Hunter Thompson
                                               Alexandra Konikoff

Entity:                                       Terminal Link Texas, LLC
                                              Entity ID Number 4102915
Entity Served:                                Terminal Link Texas LLC
Title of Action:                              Ramona Haggerty vs. Terminal Link Texas, LLC
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Harris County District Court, TX
Case/Reference No:                            202121519
Jurisdiction Served:                          Texas
Date Served on CSC:                           04/13/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Brenton J. Allison
                                              713-224-6622

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                      EXHIBIT
                                                                                                                          2-A
RRCF-11V 6tA;"
       Case 4:21-cv-01549 Document 1-3 Filed on 05/11/21 in TXSD Page 2 of 13
    APR 1 '3 2021
                                                                              Receipt Number: 916213
                                                                              T-racking Number: 73859632 EML
      COPY OF PLEADING PROVIDED BY PLT

                                                     CAUSE NUMBER: 202121519


      PLAINTIFF: HAGGERTY, RAMONA                                                     In the 333rd Judicial

      vs.                                                                             District Court of

      DEFENDANT: TERMINAL LINK TEXAS LLC                                              Harris County, T_exas

                                                            CITATION
      THE STATE OF TEXAS
      County of Harris

      T0:    TERMINAL LINK TEXAS LLC BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE
      COMPANY D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY
      211 E 7TH STREET SUITE 620
      AUSTIN TX 78701-3136
      OR WHEREVER IT MAY BE FOUND

            Attached is a copy of PLAINTIFF'S ORIGINAL PETITION.
      This instrument was filed on April 12, 2021, in the above numbered and styled cause
      on the docket in the above Judicial District Court of Harris County, Texas, in the
      courthouse in the City of Houston, Texas. The instrument attached describes the claim
      against you.
         YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not
      file a written answer with the District Clerk who issued this citation by 10:00 a.m.
      on the Monday next following the expiration of twenty days after you were served this
      citation and petition, a default judgment may be taken against you. In addition to
      filing a written answer with the clerk, you may be required to make initial
      disclosures to the other parties of this suit. These disclosures generally must be
      made no later than 30 days after you file your answer with the clerk. Find out more
      at TexasLawHelp.org.
            ISSUED AND GIVEN UNDER MY HAND and seal of said Court, at Houston, Texas, this
      April 13, 2021.


                ~,~~'pF HARR~•••~,                                     r' l~j• ,- ~
                     ~                   0                             Marilyn Burgess, District C1erk
               ~_                               ';                     Harris County, Texas
                                                                       201 Caroline, Houston ~ Texas 77002
                      ,~            F• y ~
               ~'d
                 ss,~ ....
                             .........•'~~i~:
                     ~.....__e...... ~..~`                             Generated B y : ADILIANI SOLIS


      Issued at request of:
      ALLISON, BRENTON JOEL
      2005 CULLEN BLVD.
      PEARLAND, TX 77581
      713-224-6622

      Bar Number: 24040417
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                                                                           Tracking Number: 73859632 EML


                                              CAUSE NUMBER: 202121519


PLAINTIFF: HAGGERTY, RAMONA                                                     In the 333rd

       vs.                                                                      Judicial District Court

DEFENDANT: TERMINAL LINK TEXAS LLC                                              of Harris County, Texas




                                          OFFICER/AUTHORIZED PERSON RETURN
Came         to        hand      at           o'clock               M.,    on     the              day    of
                                                     , 20
Executed          at    (address)
in                          County
at                           o'clock                     M.,      on     the                     day      of
                                                                    , 20         ,
by delivering to                                                                                 defendant,
in person, a true copy of this
Citation    together    with   the    accompanying              copy(ies)   of     the
                                          Petition
attached thereto and I endorsed on said copy of the Citation the date of delivery.
To      certify          which        I   affix    my    hand    officially      this              day    of
                                                        , 20

FEE:     S
                                                                                 of
County, Texas
                                                           By:
                       Affiant                                                 Deputy
On this day,                                                    , known to me to be
the person whose signature
appears on the foregoing return, personally appeared. After being by me duly swo-rn,
he/she stated that this citation was executed by him/her in the exact manner recited
on the return.

SWORN             TO      AND         SUBSCRIBED      BEFORE      ME      on          this                of
                                                   , 20


                                                                                 Notary Public
      Case 4:21-cv-01549 Document 1-3 Filed on 05/11/21 in TXSD Page 4 of 13
                                                                                                     4/12/2021 4:31 PM
                                                                          Marilyn Burgess - District Clerk Harris County
                                                                                               Envelope No. 52377221
                                                                                                        By: Adiliani Solis
                                                                                              Filed:4/12/2021 4:31 PM

                             CAUSE NO.


 RAMONA HAGGERTY,                              §             IN THE DISTRICT COURT OF
     Plaintiff,                                §
                                               §
 V.                                            §                HARRIS COUNTY, TEXAS
                                               §
 TERMINAL LINK TEXAS, LLC,                     §
     Defendant.                                §                       JUDICIAL DISTRICT



                           PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW RAMONA HAGGERTY, Plaintiff herein, and files this Plaintiff's

Original Petition, complaining of TERMINAL LINK TEXAS, LLC, Defendant herein, and for

cause(s) of action would respectfully show unto this Honorable Court and Jury as follows:

                                               I.
                                    DISCOVERY PLAN

         1.01   Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil

Procedure 190.3.     Plaintiff is seeking monetary relief over $250,000 but not more than

$1,000,000. Plaintiff reserves the right to amend her petition during and/or after the discovery

process.

                                              II.
                                          PARTIES

         2.01   Plaintiff, RAMONA HAGGERTY, is a natural person residing in Harris County,

Texas.

         2.02   Defendant, TERMINAL LINK TEXAS, LLC is upon information and belief, a

foreign limited liability company, organized and existing under the laws of the State of




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Delaware, and which conducts business in the State of Texas. Defendant TERMINAL LINIt

TEXAS, LLC may be served with process by delivering a copy of this Plaintiff's Original

Petition to its registered agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating

Service Company, at 211 E. 7th Street, Suite 620, Austin, Texas 78701-3136, or wherever it may

be found. Issuance of citation is requested at this time, and the fee for said issitance has been

paid to the District Clerk.



                                 VENUE AND JURISDICTION

        3.01   Pursuant to Section 15.002 et seq. of the Texas Civil Practice & Remedies Code,

venue is proper in Harris County, Texas because all or a substantial part of the events or

omissions giving rise to the claim occurred in Harris County, Texas.

        3.02   The Court has jurisdiction over this cause of action pursuant to Tex. Gov. Code

§§ 24.007 and 24.008. The amount in controversy exceeds the minimum jurisdictional limits of

this Court. This Court has personal jurisdiction over the parties as set forth above.

                                                IV.
               RULE 28 REQUEST FOR SUBSTITUTION OF TRUE NAME

        4.01   To the extent that the above-named Defendant is conducting business pursuant to

a trade name or assumed name, then suit is brought against Defendant pursuant to the terms of

Rule 28 of the Texas Rules of Civil Procedtire, and Plaintiff hereby demands upon answering

this suit, that Defendant answer in its true name.

                                                 V.
                                              FACTS

        5.01   On or about the afternoon of March 7, 2021, Plaintiff, RAMONA HAGGERTY

(hereinafter "Plaintiff") was operating a passenger transport bus in the Bayport Terminal within




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tlie Port of Houston Authority. At that time, Plaintiff was operating her vehicle southbound in

the right lane, while a commercial Yard Truck owned, leased, managed, controlled, maintained,

and/or operated by Defendant, TERMINAL LINK TEXAS, LLC (hereinafter "Defendant"), was

proceeding southbound in a lane immediately to the left of Plaintiff's lane of travel. As Plaintiff

approached an intersection where she maintained right of way, with regard to cross-traffic,

suddenly, unexpectedly, and without warning, Defendant's Yard Tn.ick made an improper turn to

the right, entering Plaintiffs lane of travel and colliding into Plaintiff's vehicle.

        5.02    Upon information and belief, Defendant's Yard Truck was, at the time of the

collision, being driven by Mr. Jerome Chadwick while in the course and scope of his duties as an

employee of Defendant's.

        5.03    As a result of the collision, Plaintiff sustained serious injuries to her back, legs,

knees, arm, and other parts of her body.         Nothing Plaintiff did or failed to do caused or

contributed to the collision made the basis of this suit or her resulting injuries.

                                                  VI.
                                       CAUSES OF ACTION "

        6.01    Plaintiff brings causes of action against Defendant as set forth below:


    A. NEGLIGENCE

        6.02    Plaintiff adopts and incorporates by reference all allegations contained in

paragraphs 5.01 through 6.01 above, as though set forth verbatim herein.

        6.03    Upon information and belief, Defendant owned, leased, managed, controlled,

maintained, and/or operated the Yard Truck that was involved in the underlying collision, which

at all times material hereto, remained under Defendant's care, custody, and/or control. Plaintiff

would show that under the direction and command of Defendant, Defendant's Yard Truck was

carelessly and/or recklessly operated in one or more of the following particulars:



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        a.      failing to exercise caution and maintain a proper lookout;

        b.      failing to pay attention to driving conditions;

        C.      failing to control the speed of Defendant's Yard Truck at the time of the
                collision;

        d.      failing to maintain proper control of Defendant's Yard Truck as a
                reasonable and prudent person would have done under the same or similar
                circumstances;

        e.      failing to take proper evasive action to avoid the collision;

        f.      failing to apply the brakes of Defendant's Yard Truck in a timely manner
                and with sufficient force to avoid the collision;

        g.      failing to turn Defendant's Yard Truck to avoid the collision;

        h.      failing to operate Defendant's Yard Truck at a safe speed and in a safe
                manner;

        i.      failing to give warning of the impending collision;

        j.      in driving the Yard Truck with a willful and wanton disregard for the
                safety of persons or property in violation of the Texas Transportation
                Code Section 545.401, among other applicable regulations, said actions
                constituting negligence per se; and

        k.      other acts and/or omissions of negligence which may be proved at trial.

        6.04    Each of these acts and/or omissions by Defendant, jointly or individually,

singularly or in combination with others, constitute negligence, which proximately caused the

subject collision and the injuries and damages sustained by Plaintiff. Nothing Plaintiff did or

failed to do caused or contributed to the collision made the basis of this suit or Plaintiff's

resulting injuries.

    B. NEGLIGENT HIRING, TRAINING, RETAINING, AND/OR SUPERVISION

        6.05    Plaintiff adopts and incorporates by reference all allegations contained in

paragraphs 5.01 through 6.04 above, as though set forth verbatim herein.




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        6.06    Plaintiff would also show that on the occasion in question, Plaintiff was caused to

sustain serious injuries because Defendant ATS was negligent in hiring, training, retaining,

and/or supervising the driver of Defendant's Yard Truck in his agency and/or employment,

including but not limited to, one or more of the following particulars:

        a.      failing to protect the safety and health of the public and/or other persons
                from hazard(s) and/or risk(s) posed to them by operation of Defendant's
                Yard Truck and/or other equipment, generally;

        b.      failing to promulgate, implement, enforce, and identify safety rules and
                regulations pertaining to conducting safe operation of Defendant's Yard
                Truck;

        C.      failing to hire properly trained employees and contractors for use of
                equipment, including the subject Yard Truck, to prevent accidents due to
                inexperienced, inattentive, and/or unqualified operation similar to that in
                connection with the subject incident;

        d.      failing to take appropriate steps to provide proper supervision, training,
                and counseling of employees, contractors, and intended users of
                Defendant's Yard Truck in question;

        e.      failing to supply adequate and skilled personnel to operate its vehicles;

        f.      failing to comply with applicable statutes, rules, regulations, policies, and
                procedures;

        g.      failing to train the driver of Defendant's Yard Truck in applicable Texas
                Transportation Code sections and other applicable statutes and regulations
                concerning operation of the vehicle; and

        h.      other acts of negligence, incompetence, and/or omissions which may be
                proved at trial.

        6.07    Each of these acts and/or omissions by Defendant, jointly or individually,

singularly or in combination with others, constitute negligence, which proximately caused the

subject collision and the injuries and damages sustained by Plaintiff. Nothing Plaintiff did or

failed to do caused or contributed to the collision made the basis of this suit or Plaintiff's

resulting injuries.



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     -C. NEGLIGEIVTi' EIVTYtUS'riViEiY'r'

           6.08   Plaintiff adopts and incorporates by reference all allegations contained in

  paragraphs 5.01 through 6.07 above, as though set forth verbatim herein.

           6.09   Upon information and belief, Defendant negligently entrusted Defendant's Yard

  Truck, and the duties and responsibilities in connection therewith, to the driver of that vehicle at

 the time of the subject collision.

           6.10   The driver of Defendant's Yard Truck at the time of the collision was an

 incompetent and/or reckless driver. At the time of the entrustment, Defendant knew and/or

 should have known that the driver was an incompetent and/or reckless driver.

           6.11   The driver of Defendant's Yard Truck was negligent at the time of Plaintiff's

 injury.

           6.12   Defendant could reasonably have anticipated that entrusting Defendant's Yard

 Truck to an incompetent and/or reckless driver would result in an injury.

           6.13   Defendant's Yard Truck's driver's negligence proximately caused bodily injury

 and economic damages to Plaintiff.

           6.14   Each of these acts and/or omissions by Defendant, singularly or in combination

 with others, constitute negligence, which proximately caused the subject collision and the

 injuries and damages sustained by Plaintiff. Nothing Plaintiff did or failed to do caused or

 contributed to the collision made the basis of this suit or Plaintiffs resulting injuries.



                     RESPONDEAT SUPERIOR / VICARIOUS LIABILITY

           7.01   Defendant is liable under the doctrine of respondeat superior in that the driver of

_ Defendant's commercial tractor trailer was driving that vehicle in the course _and scope of his

 employment with Defendant. The driver's use and operation of Defendant's Yard Truck was




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wlthnl the scope of his general authority granted by Defendant, was in nirtherance of the

business of Defendant, and was for the accomplishment of the object for which that driver was

hired.

         7.02   The foregoing acts and/or omissions constitute negligence and negligence per se,

and proximately caused Plaintiff's injuries and damages alleged herein. Nothing Plaintiff did or

failed to do catised or contributed to the collision made the basis of this suit or Plaintiff's

resulting injuries.

                                               VIII.
                                            AGENCY

         8.01   Wherever in this Petition it is alleged that Defendant did any act, thing, or

omission, it is meant that Defendant's officers, agents, servants, employees, or representatives

did such act, thing, or omission, and that at the time such act, thing, or omission was done, it was

done with the full authorization or ratification of Defendant, or was done in the normal and

routine course and scope of employment of Defendant's officers, agents, servants, employees, or

representatives.

                                                IX.
                                           DAMAGES

         9.01   As a direct and proximate result of the actions and/or omissions of Defendant

described herein, Plaintiff sustained injuries, and incurred medical expenses for the necessary

care of her injuries. These charges are reasonable and customary with charges made for such

services in the county or counties where they were provided.            With reasonable medical

probability, Plaintiff will continue to incur medical expenses for the necessary treatment of her

injuries in the future.




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       9.02    Categorical damages which Plaintiff seeks to recover from Defendant include

compensation for the following:

       a.      physical pain and suffering in the past and future;

       b.      mental anguish in the past and future;                                             _

       C.      disfigurement in the past and future;

       d.      physical impairment in the past and future;

       e.      medical expenses in the past and future;

       f.      loss of earning capacity in the past and fitture;

       g.      loss of consortium in the past and future; and

       h.      loss of household services in the past and future.

       9.03    Plaintiff seeks unliquidated damages within the jurisdictional limits of this Court.

       9.04    Plaintiff is entitled to prejudgment interest as allowed by law.

       9.05    Plaintiff respectfully reserves the right to plea further if necessary as discovery

progresses.

                                                  X.
                                  CONDITIONS PRECEDENT

       10.01 All conditions precedent to Plaintiff's right to recover herein and to Defendant's

liability have been performed or have occurred.

                                                 XI.
                                         JURY DEMAND

       11.01 Plaintiff hereby requests that all causes of action alleged herein be tried before a

jury consisting of citizens residing in Harris County, Texas.          Plaintiff has tendered the

appropriate jury fee.




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                                     RULE 193.7 NOTICE

       12.01 Pursuant to Rule 193.7 of the Texas Rtiles of Civil Procedtire, Plaintiff hereby

gives actual notice to Defendant that Plaintiff may use any and all documents produced by

Defendant against Defendant at any pretrial proceeding and/or at the trial of this matter without

the necessity of authenticating such documents.

                                              XIII.
                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, RAMONA HAGGERTY, prays

that Defendant, TERMINAL LINK TEXAS, LLC, be cited to appear and answer herein and,

upon final hearing of this catise, Plaintiff have judgment against Defendant for damages

described herein, inch.iding:

       a.      all actual damages, general and special;

       b.      pre- and post judgment interest at the highest legal rate as provided by stahitory
               and common law;

       C.      costs of suit; and

       d.      any and all further relief, general and special, legal and equitable, to which
               Plaintiff may be justly entitled.




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                                       RespectfulTy submitted,
                                       GILMAN *ALLISON LLP



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